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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



E. N. BISSO & SON, INC.                                       * CIVIL ACTION

VERUS                                                         * NO. 19-cv-14666

M/V DONNA J. BOUCHARD, her tackle,                            * SECTION “E” (1)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 272, her tackle,                    * JUDGE MORGAN
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD TRANSPORTATION                               * MAG VAN MEERVELD
CO., INC. in personam

*      *       *       *       *       *      *       *       *

                                   JOINT MOTION TO DISMISS
    NOW INTO COURT, through undersigned counsel, come plaintiff, E.N. Bisso & Son,

Inc., and Defendants, Tug Donna J. Bouchard Corp., B. No. 272 Corp., and Bouchard

Transportation Co., Inc., and upon representing that the above parties have agreed to a full and

final settlement of all of E.N. Bisso & Son, Inc.’s claims and causes of action at issue in this

matter and, specifically, E.N. Bisso & Son, Inc.’s Rule C claims and other claims that were the

basis for E.N. Bisso & Son, Inc.’s arrest and attachment of the M/V DONNA J. BOUCHARD

and Barge B. No. 272, in rem, and for E.N. Bisso & Son, Inc.’s request for Interlocutory Sale of

the Vessels, to jointly move this Honorable Court to dismiss the present proceeding as to E.N.

Bisso & Son, Inc., with prejudice, each party to bear its own costs and, further, to vacate and

dismiss the warrants of arrest and writs of attachment of the M/V DONNA J. BOUCHARD and

Barge B. No. 272, in rem, issued at E.N. Bisso & Son, Inc’s request on December 18, 2019.

    E.N. Bisso & Son, Inc. acknowledges that it has no objection to Tug Donna J Bouchard

Corp. and B. No. 272 Corp.’s Motion to Vacate the Court’s March 10, 2020, Interlocutory Sale


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Order with respect to the M/V DONNA J. BOUCHARD and Barge B. No. 272 [Rec. Doc. 58],

as the dispute between E.N. Bisso & Son, Inc. and defendants has been fully and amicably

resolved.

                                           Respectfully submitted,

                                           LUGENBUHL, WHEATON, PECK
                                           RANKIN & HUBBARD

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                                           Son, Inc.

                                           And

                                           MURPHY, ROGERS, SLOSS,
                                            GAMBEL & TOMPKINS

                                           /s/ Robert H. Murphy
                                           __________________________________
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                                           Attorneys for Tug DONNA J. BOUCHARD Corp. as
                                           owner of the M/V DONNA J. BOUCHARD, in rem,
                                           and B. No. 272 Corp., as owner of the Barge B. No.
                                           272, in rem, and Bouchard Transportation Co., Inc.


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